                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE


PETER BLACKSHAW,                                 )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               )      Civil Action No.:
                                                 )
MSC INDUSTRIAL DIRECT CO., INC.,                 )
                                                 )
               Defendant.                        )


                                   NOTICE OF REMOVAL


        Defendant MSC Industrial Direct Co., Inc. (hereinafter “Defendant”) hereby removes this

action to this Court pursuant to 28 U.S.C. § 1331. In support hereof, Defendant states as follows:

        1.     On March 26, 2012, Pro Se Plaintiff Peter Blackshaw (hereinafter “Plaintiff”)

filed a Civil Warrant, styled Peter Blackshaw v. MSC Industrial, Civil Warrant No. 19916, in the

General Sessions Court of Unicoi County, Tennessee.

        2.     On or about April 2, 2012, Defendant was served with the aforementioned Civil

Warrant. A copy of the Civil Warrant, which is contained in the State Court Record, is being

filed contemporaneously herewith and attached hereto as Exhibit A. The Civil Warrant was the

only document served upon Defendant setting forth the claim for relief upon which Plaintiff’s

action is based.

        3.     Plaintiff’s Civil Warrant is a civil action for damages, alleging that Defendant

terminated Plaintiff’s employment in retaliation for his filing an Age Discrimination in

Employment Act (ADEA) charge and, as a result, Plaintiff lost unpaid, non-mature stock grants.




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        4.     This case is removable on the basis of federal question, pursuant to 28 U.S.C. §

1331.

        5.     Defendant’s Notice of Removal has been filed within 30 days after the initial

receipt by Defendant of a copy of Plaintiff’s Civil Warrant in accordance with 28 U.S.C. §

1446(b).

        6.     Removal to this Court is proper pursuant to 28 U.S.C. § 1441(c) because it is in

the district and division embracing the place where the state court action is pending.

        7.     A copy of this Notice of Removal, as well as the attached Notice of Filing Notice

of Removal, attached hereto as Exhibit B, have been mailed to Pro Se Plaintiff and are being

filed with the Clerk of the General Sessions Court of Unicoi County, Tennessee in accordance

with 28 U.S.C. § 1446(d).

        WHEREFORE, Defendant removes this action to the United States District Court for the

Eastern District of Tennessee.

                                                     Respectfully submitted,


                                                     s/ O. John Norris, III
                                                     O. John Norris, III (TN Bar No. 017504)
                                                     Pamela R. Irons (TN Bar No. 023707)
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                                                     Attorneys for Defendant




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of April, 2012, I served a true and correct copy of the
foregoing NOTICE OF REMOVAL via U.S. Mail, postage prepaid on the following:

                                  Peter Blackshaw
                                  205 T. Harris Rd.
                                  Flag Pond, TN 37657

                                  Pro Se Plaintiff



                                                      s/ O. John Norris, III


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